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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
         Plaintiff,                                )
                                                   )
vs.                                                ) No. 4:19CR00697 SRC/SPM
                                                   )
                                                   )
EARL WATKINS,                                      )
                                                   )
         Defendant.                                )


           DEFENDANT’S SIXTH MOTION FOR ADDITIONAL TIME IN WHICH
                         TO FILE PRETRIAL MOTIONS

         COMES NOW defendant Earl Watkins, by and through counsel, Assistant

Federal Public Defender Tara Crane, and moves this Court to grant additional time in

which to file pretrial motions. In support of this motion, counsel states the following:

      1. The date for filing pretrial motions is June 10, 2020.

      2. Counsel is still in the process of reviewing discovery with the client which

         includes numerous jail phone calls and a video statement. Due to the COVID-19

         pandemic, counsel has been unable to meet with defendant in the St. Louis

         County Justice Center. Counsel needs additional time to complete the review of

         discovery.

      3. Upon complete review of the discovery, counsel will need time to address

         additional investigation of legal issues and to discuss all aspects of the case with

         the defendant who is currently housed St Louis City Justice Center, and to

         engage in discussions with the government regarding a potential disposition of

         this matter.
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     4. Due to the COVID-19 pandemic, counsel has been unable to have regular

        contact with the defendant to discuss his case and his options with regard to

        pretrial motions. Counsel needs additional time to spend in person with the

        defendant to discuss his options with regard to pretrial motions.

     5. A continuance in this matter is in the interest of justice as it allows reasonable

        time for counsel to be properly prepared pursuant to 18 U.S.C. §3161. If the

        Court grants this request, counsel asks for up to and including 30 days in which

        to file pretrial motions.

     6. Counsel for defendant has discussed this request with Special Assistant United

        States Attorney Katharine Dolin, and she has no objection to defendant’s request

        for additional time to file pretrial motions

 WHEREFORE, for the reasons stated above, counsel requests an extension of time, up

 to and including 30 days, in which to file pretrial motions with the Court.

                                             Respectfully submitted,

                                             /s/ Tara Crane______________
                                             TARA CRANE         #52206 MO
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                                             St. Louis, Missouri 63101
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                                             ATTORNEY FOR DEFENDANT



                                    CERTIFICATE OF SERVICE
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 I hereby certify that on June 10, 2020, the foregoing was filed electronically with the Clerk
 of the Court to be served by operation of the Court’s electronic filing system upon
 Katharine Dolin, Special Assistant United States Attorney.


                                           /s/Tara Crane____________
                                           TARA CRANE
                                           Assistant Federal Public Defender
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